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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                         8:02CR128
                                    )
            vs.                     )
                                    )
TRINITY BRIGGS,                     )                          ORDER
                                    )
                  Defendant.        )
____________________________________)


               On August 18, 2005, defendant appeared through counsel on a motion for

reduction of sentence (Filing No. 51), filed by the plaintiff, pursuant to Rule 35 of the Federal

Rules of Criminal Procedure. After considering the comments of the parties and after evaluating

the assistance provided by the defendant, the Court finds that the government’s motion for

reduction of sentence should be granted. Accordingly,

               IT IS ORDERED:

               1) The government’s motion for reduction of sentence is granted.

               2) Defendant be committed to the custody of the Bureau of Prisons for a term of

ninety (90) months. Defendant is to be given credit for time previously served under the

previous Judgment and Committal Order dated February 25, 2003, which was signed and filed on

February 26, 2003 (Filing No. 46).

               3) All other terms and conditions of the Judgment and Committal Order dated

February 25, 2005, remain in full force and effect.
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        4) That the transcript of the Rule 35 hearing of August 18, 2005, be sealed.

        DATED this 22nd day of August, 2005.

                                             BY THE COURT:

                                             /s/ Lyle E. Strom

                                             LYLE E. STROM, Senior Judge
                                             United States District Court




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